     Case 3:15-md-02670-DMS-MSB        Document 3322      Filed 11/15/24    PageID.274344
                                         Page 1 of 2



 1
 2
 3
 4
 5
 6                        UNITED STATES DISTRICT COURT
 7                     SOUTHERN DISTRICT OF CALIFORNIA
 8
 9
     IN RE: PACKAGED SEAFOOD                        Case No. 15md2670 DMS(MSB)
10
     PRODUCTS ANTITRUST LITIGATION
11
12                                                  ORDER GRANTING
     This Document Relates To:
                                                    COMMERCIAL FOOD
13                                                  PREPARER PLAINTIFFS’
     All Commercial Food Preparer
14                                                  MOTION FOR ATTORNEYS’
     Plaintiff Actions
                                                    FEES AND COSTS
15
16         Presently before the Court is the Commercial Food Preparer Plaintiffs’ (“CFPs”)
17 Motion for Attorneys’ Fees and Costs. Counsel for the CFPs now request a 29% fee
18 award of $3,008,750 and reimbursement of prior litigation costs and expenses of
19 $514,886.31. Counsel did not collect any interim fee awards in connection with the
20 prior settlement in this case. Counsel also request costs associated with class notice and
21 settlement administration for all settlements of $396,838.08 and additional modest
22 service awards of $2,000 for each of the class representatives, who received $5,000
23 awards with the prior settlement.
24      Having considered the CFPs’ motion, the accompanying memorandum, the
25 declarations of Lead Counsel Michael J. Flannery and Class Counsel, and the record in
26 this case, the Court hereby GRANTS the CFPs motion as follows:
27
28
                                                                           15md2670 DMS(MSB)
     Case 3:15-md-02670-DMS-MSB          Document 3322    Filed 11/15/24    PageID.274345
                                           Page 2 of 2


      1. As to attorneys’ fees and costs, the Court has considered the relevant case law
 1
         and authority and finds that awards of attorneys’ fees and reimbursement of
 2
         expenses to Lead Counsel and co-counsel are appropriate under Federal Rules
 3
         of Civil Procedure 23(h) and 54(d)(2). Accordingly, Lead Counsel are
 4
         awarded $514,886.31 in past out-of-pocket expenses and fees of $3,008,750
 5
         for a total of $3,523,636.31.
 6
      2. The fees and expenses shall be allocated among co-counsel for the CFPs by
 7
         Lead Counsel Cuneo Gilbert & LaDuca LLP in a manner that, in the Lead
 8
         Counsel’s good faith judgment, reflects each firm’s contribution to the
 9
         institution, prosecution, and resolution of the litigation.
10
      3. Kroll Settlement Administration is awarded $237,035.63 in past expenses and
11
         $159,802.45 in future expected expense, for a total of $396,838.08. These
12
         awards do not exceed the amount provided for in the settlement agreements.
13
      4. The class representatives shall each receive an incentive award in the amount
14
         of $2,000 for a total of $36,000.
15
          IT IS SO ORDERED.
16
17 Dated: November 15, 2024
18
19
20
21
22
23
24
25
26
27
28
                                                                           15md2670 DMS(MSB)
